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            EXHIBIT 3
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Duggan, Ph.D., Mark G.                                           July 14, 2008
                     Washington, DC

                                                                                Pagel
                  UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:    PHARMACEUTICAL          MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE        CIVIL ACTION

    PRICE LITIGATION                  01-CV-12257-PBS

    THIS DOCUMENT RELATES TO

    U.S. ex rel. Ven-a-Care of        Judge Patti B. Saris

    the Florida Keys, Inc.

         v.                           Chief Magistrate

    Abbott Laboratories, Inc.,        Judge Marianne B.

    No. 06-CV-11337-PBS               Bowler



                                               Volume I



        Videotaped deposition of MARK G. DUGGAN PH.D.




                               Washington, D.C.

                               Monday, July 14, 2008

                               9:00 a.m.




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Duggan, Ph.D., Mark G.                                                                        July 14, 2008
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                                                 Page 46                                                        Page 48
 1   But my understanding is that the distinction as          1        A. Just it -- I think the analysis that I
 2   between my phrase difference as an economist and the      2   undertake here is very similar to the analysis that
 3   legal term damages, that they are -- are they exactly     3   I've undertaken in a large share of my empirical work,
 4   synonymous? They're essentially -- that that is           4   which is to get at the causal effect of one or more
 5   reflective of damage.                                     5   things on an outcome variable of interest. And so I
 6        Q. Are they the same, difference and damage?         6   believe that my prior research is very relevant for
 7           MR. LAVINE: Object to form.                       7   this analysis.
 8       A. I would -- once again, there's a lot that          8       Q. Move to strike as nonresponsive.
 9   goes into my calculation of this difference value. So     9           Apart from your work -- let me ask this
10   it's my understanding that -- as an economist, it        10   question again. Strike that.
11   represents the -- may I read from my report or -­        11           Have you written any articles regarding the
12        Q. Sure.                                            12   calculation of damages in litigation?
13       A. "What the federal government reimbursed for       13       A. I've produced the two reports that we've
14   certain pharmaceutical products, provided to Medicaid    14   talked about here today.
15   and Medicare recipients during the eleven year period    15       Q. Have you read any economic or legal
16   and what the federal government would have reimbursed    16   scholarship regarding what should be in a damage
17   for the same products during the time period if prices   17   calculation used for litigation?
18   reflective ofthe actual prices at which Abbott was       18           MS. THOMAS: Objection to form.
19   transacting business had been used for the AWP, WAC      19       A. There are many documents that I have read
20   and direct price of Abbott products."                    20   in the course of my career and also in connection with
21        Q. Are you saying that damages is not an            21   this case. And so -- but it's hard for me to pick out
22   economic term?                                           22   a particular study right now.
                                                 Page 47                                                        Page 49
 1       A. That's not what I'm saying. It is                 1        Q. When you set out to do the engagement in
 2   primarily a legal term in the context of litigation.      2   Texas and again in the engagement in this case, did
 3       Q. What experience do you have, Dr. Duggan, in        3   you make any effort to review literature regarding how
 4   calculating and doing damage calculations for             4   to calculate damages in litigation?
 5   litigation?                                               5       A. I believe that my report outlines in a very
 6           MR. LAVINE: Objection to form.                    6   transparent way what it is that my analysis does. And
 7       A. So in the -- we've talked so far about my          7   so I reviewed some documents related to AWP
 8   work in the Texas case and my work here in the federal    8   litigation, reports by other experts, for example,
 9   case and in which the Texas work that I did was quite     9   quite some time ago. But I believe that what I set
10   analogous to what I'm doing here in the federal case.    10   out to do in this report and the assumptions that I
11   And so I would consider that to be experience in         11   made in carrying this out are very clear.
12   calculating -- in conducting analyses that the court     12           And to the extent that the court or others
13   would find useful in assessing damages.                  13   assess -- this report is, this algorithm that I have
14       Q. Is it fair to say that apart from this case       14   designed, is something that I believe is well-suited
15   and your work in the Texas litigation you've never       15   to the question that I posed, which is how much more
16   done work to assist a court in calculating damages in    16   did the federal government spend for the products.
17   a civil suit?                                            17   And I could go through the whole thing.
18           MR. LAVINE: Objection to form.                   18       Q. I would actually like you to go through the
19       A. That's correct.                                   19   whole thing.
20       Q. Have you ever published any articles on           20       A. Okay. "What the federal government
21   that topic?                                              21   reimbursed for certain pharmaceutical products
22           MR. LAVINE: Objection to form.                   22   provided to Medicaid and Medicare recipients during

                                                                                        13 (Pages 46 to 49)
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 1           MR. LAVINE: Objection to fonn.                  1    subject of your testimony?
 2      A. The analyses in my report shed light on how       2            MR. LAVINE: Objection to fonn.
 3   federal government expenditures for Abbott products     3         A. Well, once again, I'm not certain about
 4   and the J codes listed in the complaint would have      4    what I will end up discussing in testimony. But for
 5   differed if Abbott had reported the alternative prices  5    the purposes of my report for the analyses that emerge
 6   that I described in my report to First Databank, Red    6    from my report that are summarized in the executive
 7   Book and so forth and the state Medicaid agencies and   7    summary and in the tables and so forth and throughout
 8   the federal government used those numbers. So           8    the text, so I -- that is an assumption that I make in
 9   absolutely I do believe that the -- given the           9    my report. What I will say about that issue later
10   assumptions that I outline in my report, the report    10    it's hard for me to speculate now at this point.
11   estimates the impact of alternative prices on federal  11         Q. Have you done any analysis, reviewed the
12   government spending, holding other factors constant.   12    factual record, to detennine if Medicare or Medicaid
13           And I should note that in some of these        13    programs would have used the prices that you calculate
14   other papers that I mention here I perfonn -- some of  14    in your report?
15   these other publications, I perfonn similar analyses.  15            MS. THOMAS: Objection.
16   So for example had a Medicaid recipient not been in an 16         A. Well, I have observed in the data that when
17   HMO, but instead been in a fee for service, what would 1 7   the prices reported in First Databank and in the Red
18   government spending otherwise have been. Had a         18    Book changed for the Abbott products at issue in this
19   Medicaid recipient not taken this specific             19    case that Medicaid reimbursement and subsequently
20   prescription drug, what would Medicaid spending        20    Medicare reimbursement did decline. So that is an
21   otherwise have been and so forth. That is quite        21    example of one kind of thing that I did to -- does
22   consistent with much of my previous research, the      22    that represent everything that I've done, I'm not
                                               Page 215                                                      Page 217

 1   approach that I used here.                              1    sure. I would need to go back and look at it.
 2      Q. Are you providing expert opinion in this          2            But that's certainly consistent with what
 3   case on whether the state Medicaid programs or          3    one would expect given that assumption Medicaid
 4   Medicare would have used the alternative prices that    4    spending for Abbott products declined -- for the 44
 5   you calculate in your report?                           5    Abbott products declined from -- in 2000 and
 6          MR. LAVINE: Objection to fonn.                   6    especially 2001, with the details of that varying a
 7      A. It is my understanding -- and I try to be         7    bit.
 8   specific about this in my report. It is my              8         Q. You mentioned something that you saw or did
 9   understanding that -- it is my assumption that if       9    on that point whether or not the Medicare and Medicaid
10   Abbott had reported alternative prices to First        10    programs would have used those prices. Have you done
11   Databank as I described in my report and to the Red    11    the analysis you believe would be necessary as an
12   Book that state Medicaid agencies and Medicare         12    economist to provide an expert opinion on whether the
13   insurance carriers would have used those prices when   13    Medicare and Medicaid programs would have used the
14   adjudicating Medicaid and Medicare claims. That is a   14    prices that you calculate in your report?
15   sort of -- that is an assumption that I am making in   15            MR. LAVINE: Objection to fonn.
16   my report. And I try to be clear about that.           16         A. I'm confused by that question. Maybe you
17      Q. Yes, you are. And I did get that. I just         17    can ask it again. I'm not trying to be difficult.
18   wanted to make sure that I have it.                    18    It's just a long day.
19      A. Yeah.                                            19         Q. Have you done the analysis you believe
20      Q. The question of whether Medicare and             20    would be necessary as an economist to provide an
21   Medicaid would have used the revised pricing is an     21    expert opinion on whether Medicare and Medicaid would
22   assumption in your report, correct? It's not a         22    have used the revised prices that you calculate in

                                                                                    55 (Pages 214 to 217)
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